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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 Case No. 18-20818-CIV-GAYLES

   PDVSA US LITIGATION TRUST,

                  Plaintiffs,

   v.

   LUKOIL PAN AMERICAS LLC, et al.,

                  Defendants.

   ________________________________________/

       DEFENDANT LUKOIL PAN AMERICAS LLC’S RESPONSE AND INCORPORATED
       MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S EX PARTE MOTION
       FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                         AND DELAYED SERVICE [ECF 5]

           Defendant Lukoil Pan Americas LLC (“Lukoil”), pursuant to Federal Rule of Civil

   Procedure 65 and Local Rule 7.1, submits the following response and incorporated memorandum

   of law in opposition to Plaintiff’s Ex Parte Motion for a Temporary Restraining Order and

   Preliminary Injunction and Delayed Service (“Motion”),1 and states:

                                         INTRODUCTION

           A “preliminary injunction is an extraordinary and drastic remedy.” Palmer v. Braun, 287

   F.3d 1325, 1329, 1330 (11th Cir. 2002). A party seeking a preliminary injunction bears the

   burden of establishing an imminent violation of law and irreparable harm in the absence of the




   1
      Having not yet responded to or answered Plaintiff’s Amended Complaint [ECF 12], Lukoil
   files this brief in opposition without waiver and with express reservation of all defenses, claims
   and arguments that Lukoil has or may have with respect to Plaintiff’s Amended Complaint.
                                                   1
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   injunction.2 PDVSA US Litigation Trust’s (the “Trust”) only stated basis for seeking an

   injunction against Lukoil is the assumption that “Defendants” will be motivated to destroy

   documents. ECF No. 5 at 15. The Trust, however, fails to offer even a shred of evidence that

   Lukoil has destroyed or intends to destroy evidence. Nor does the Trust have any factual basis

   for suggesting that Lukoil will not abide by its obligations under the Federal Rules of Civil

   Procedure to preserve documents in this litigation. Indeed, the Trust’s Motion does not contain

   even a single allegation specific to Lukoil, let alone cite proof “that relevant and existing

   evidence” in the possession of Lukoil “[i]s in danger of being destroyed.” Robinson v. Gielow,

   2015 WL 4459880, at *3 (N.D. Fla. 2015).

          The Trust’s Motion, seeking an injunction requiring Lukoil to preserve any document

   relating to PDVSA in any way, should therefore be denied.3

                                     MEMORANDUM OF LAW

          In essence, the Trust asks the Court to issue a preliminary injunction to ensure that Lukoil

   complies with its document preservation obligations. However, it is well-recognized that

   “[o]rdering parties to act in a way that they already are ethically constrained to act serves neither

   judicial economy nor the public interest.” Levitan v. Mary Ann Patti LLC, 2010 WL 323060, at

   *2 (N.D. Fla. 2010) (declining to issue preliminary injunction). Lukoil is represented by counsel

   and fully understands its document preservation obligations. Lukoil has already taken steps to



   2
     While this response focuses on the absence of credible evidence of an imminent threat of
   irreparable harm, is the plaintiff offers no evidence whatsoever of a substantial likelihood of
   success on the merits.
   3
     While PDVSA does not in any way show why an injunction against Lukoil is required, the
   potential for mischief and unfair burden arising from an injunction is clear. PDVSA does not
   explain how the injunction it proposes is tailored to the scope of proper discovery in this case
   and it appears to go well beyond proper discovery.

                                                    2
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   ensure the potentially responsive documents are preserved, including the issuance of a

   comprehensive litigation hold to appropriate personnel.

          The Trust cites no reason to believe that Lukoil will not comply with its obligations as

   this case proceeds—in fact, the Trust says nothing at all specific to Lukoil. The law does not

   permit the issuance of an injunction merely to reinforce document preservation obligations that

   are already in place. See, e.g., Artec Grp. v. Klimov, 2016 WL 4474614, at *3 (N.D. Cal. 2016)

   (“Defendants in this case acknowledge their existing obligation to preserve discoverable

   evidence . . . . The court has no basis for concluding that defendants are incapable of fulfilling

   these obligations.”); United States v. Sum of $70,990,605, 991 F. Supp. 2d 154, 170 (D.D.C.

   2013) (“[T]he claimants have made no showing that there is a strong public interest in favor of

   issuing a preliminary injunction to preserve evidence that the government has not even

   threatened to destroy.”).

          Moreover, the Trust has not come close to satisfying its burden of demonstrating a threat

   of irreparable harm if an injunction against Lukoil is not issued. It's A 10, Inc. v. Beauty Elite

   Grp., Inc., 932 F. Supp. 2d 1325, 1335 (S.D. Fla. 2013) (“A party seeking an injunction must

   show the threat of irreparable harm . . . [is] actual and imminent, not remote or speculative.”).

   The Trust has not offered any proof or cited any facts that are specific to Lukoil. No facts of any

   kind are cited. The Trust’s motion against Lukoil is based entirely on the conclusory assertion

   that “Defendants will be motivated to destroy or hide all evidence and will have more reason

   than ever to conceal the proceeds.” ECF No. 5 at 15. See also United States v. Sum of

   $70,990,605, 991 F. Supp. 2d 154, 164 (D.D.C. 2013) (“Conclusory statements of what has




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   occurred without factual support is insufficient to justify the extraordinary remedy of

   a preliminary injunction.”).4

          Courts do not hesitate to deny motions for preliminary injunction under circumstances

   similar to those present here. In It's A 10, Inc. v. Beauty Elite Group, Inc., the district court

   denied part of the plaintiff’s motion for a preliminary injunction which sought to stop the

   defendant from “destroying or otherwise tampering” with evidence. 932 F. Supp. 2d 1325, 1335

   (S.D. Fla. 2013). There, the Court held that the harm alleged by plaintiff was “speculative, rather

   than actual or imminent” because “[p]laintiff offers no proof that [defendant] is likely to damage

   or destroy its business records or other evidence relevant to this case.” Id. Similarly, in Levitan,

   the district court found that a plaintiff’s allegations that defendants had engaged in “falsifying

   documents, extortion, blackmail and fraud” had “no bearing on the side issue of preventing the

   destruction of evidence.” 2010 WL 323060, at *2. Because plaintiffs had presented no evidence

   of “actual or imminent” harm, its motion for entry of a preliminary injunction was denied. It’s A

   10, 932 F. Supp. 2d at 1335. Here too, the motion for preliminary injunction is untethered to any

   allegations in the Complaint.

          The Trust’s Motion here is similarly devoid of any facts suggesting that Lukoil has

   destroyed evidence or that it is likely to destroy evidence in the future. The Trust’s speculation

   about what Lukoil might be motivated to do in the future is legally insufficient to warrant the

   issuance of a preliminary injunction. See Sum of $70,990,605, 991 F. Supp. 2d at 163 (denying a

   motion for a preliminary injunction because claimants “fail[ed] to provide proof that evidence

   has been destroyed, . . . have not identified what evidence the government has allegedly

   4
    With respect to the Trust’s motion for delayed service on Lukoil Petroleum Ltd. [ECF No. 72],
   Lukoil has informed counsel for the Trust that Lukoil Petroleum Ltd. was dissolved in 2007.
   Therefore, Lukoil respectfully submits that the Trust’s motion for alternative services should be
   moot with respect to Lukoil Petroleum Ltd.
                                                    4
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   despoiled,” and “provided no proof that the government has threatened to destroy any

   evidence.”).

                                        CONCLUSION

          Based on the foregoing, Lukoil respectfully requests that the Court deny the Trust’s

   Motion with respect to Lukoil.

   Dated: March 26, 2017                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on March 26, 2018, a copy of the foregoing document was filed

   electronically using the Court’s CM/ECF system, which will provide notice of the filing to all

   counsel of record.


                                                       By:   /s/ Jorge D. Guttman
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